
644 S.E.2d 230 (2007)
In the Matter of M.D.D. appealed by Respondent-Mother.
No. 56P07.
Supreme Court of North Carolina.
March 8, 2007.
Richard Croutharmel, for Mother.
David A. Perez, for Randolph County DSS.
Leigh A. Kite, Charlotte, for Guardian ad Litem.


*231 ORDER

Upon consideration of the petition filed on the 31st day of January 2007 by Respondent (Mother) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of March 2007."
